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                      UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF CONNECTICUT


In the Matter of the Extradition of
Piotr Grabowski a/k/a Walerek
                                                       3:20-mc-00068-WIG




                              MOTION FOR RELEASE ON BAIL


       Livi us Ilasz an attorney at law duly admitted to practice before the courts of the State of

New York, moves this Court for Respondent's immediate release from pretrial detention. Piotr

Grabowski (the "Respondent") requests that the Court grant the motion, or, alternatively, hold an

emergency hearing on this motion and allow the parties to appear by phone.

       This Court should release Respondent on bond pending its examination of Poland's

extradition request because "special circumstances" warrant his release, he is neither a flight risk

nor a danger to the community, and also in consideration of the global pandemic that has killed

hundreds of thousands of people in a short period of time.

       At least five special circumstances apply here:

           1. First, Respondent has two substantial, case-dispositive claims against extradition,

                including (i) lack of probable cause that the Respondent committed any crimes and

                (ii) the victim recanting her statement and issuing an apology to the Respondent for

                falsely accusing him of such a heinous offense;

           2.   This will be a protracted proceeding. As a result, Respondent faces the specter of

                a detention period that could last years;
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               3. Respondent has had no criminal history, much less any history of violent crime

                   during his seventeen-year residence in the United States;

              4. As the novel coronavirus that causes COVID-19 has spread across the globe,

                   hundreds of thousands of people have been infected and thousands of people have

                    died. 1 There is no known cure. Development of a vaccine is likely at least 12 months

                    away.2 The federal jail has never confronted a global health pandemic like this one.3

                    The facility is unequipped either to prevent transmission of COVID-19 among

                    detainees and staff or to isolate and treat individuals who become infected. For the

                    reasons set forth below, Respondent's ongoing extradition detention poses an

                    imminent threat to Respondent's life and to the health and safety of the community

                    from a deadly infectious disease. Under these unique circumstances, the Court must

                    release Respondent on appropriate conditions, at least until the resolution of this

                    outbreak.

               5. Multiple countries within the European Union have declined to uphold any Poland

                    extradition request due to their fear that Poland's Judiciary is no longer fair,

                    unbiased, and/or independent of the government.




1
  The World Health Organization has officially classified the spread of Covid-19 as a global pandemic. See World
Health          Organization,         Director-General           Opening            Remarks         (March          11,      2020),
h ttps :/ /www. who. int/ dg/ speeches/ detai 1/w ho-di rector-gen era! -s-open in g-remarks-at-th e-m ed ia-bri efing-on-covi d-
l 9--- l l-march-2020.
2
   Saralyn Cruickshank, "Experts Discuss Covid-19 and Ways to Prevent Spread of Disease," John Hopkins Mag.
(Mar. 17, 2020), https://hub.jhu.edu/2020/03/17 /coronavirus-virology-vaccine-social-distancing-update
3
   Given COVID- l 9's contagiousness and relatively high death rate, particularly in vulnerable populations, the
President ordered a 15-day directive to avoid gatherings in groups of more than l O people. The President's
Coronavirus Guidelines for America, Whitehouse.gov (Mar. 16, 2020), https://www.whitehouse.gov/wp-
content/uploads/2020/03/03. l6.20_coronavirus-guidance_8.5x 11 _31 SPM.pdf.


                                                                                                                                 2
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           6. The Respondent is applying for political asylum in immigration court for fear that

               due to political persecution by the local government, courts, and the ineffective

               assistance of his own counsel he is now barred from filing a subsequent appeal.

       With respect to risk of flight, Respondent is not going anywhere. He has a long-time

common-law spouse with whom he has two children who reside within the state of Connecticut.

Respondent is also the owner of a construction business and has multiple ties to the community.

As a show of his commitment to stay and fight extradition, Respondent is presenting this Court

with a substantial bond package.



                                               I.    FACTS

       Upon information and belief, Maria Trwoga (the "victim") told Polish police the following:

On May 16, 2001, in Stare Miasto, she was returning home from shopping. She saw the

Respondent and her friend, Ireneusz Zagaja ("Zagaja"). The victim's date of birth is February 12,

1983 and she was age eighteen on May 16, 2001. The victim alleges that she voluntarily got off

her bike. After getting off the bike, the victim, Respondent and Zagaja walked the victim's bike to

Respondent's property. When they reached the residential building on Respondent's property the

victim joined Respondent and Zagaja by sitting on a wall and smoking cigarettes. Upon

information and belief, the victim commenced consensual and uncoerced oral intercourse with

Respondent. The victim stated to the officials that she was then coerced into a sexual act by Zagaja

against her will. According to one of the victim's constantly inconsistent statements Respondent

and Zagaja supposedly carried the victim into the building and into a room. Respondent admits

that the victim declined traditional intercourse with the Respondent but that the victim willfully

performed oral sex on Respondent. Afterwards Respondent exited the room leaving the victim and

Zagaja alone. The police later found the victim's watch and underwear in the building which is


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consistent with Respondent's statement that the victim was at the location and did have willful oral

intercourse with Respondent and unwilful intercourse with Zagaja.

       The victim left the building and returned home. When her mother, Janina Janik ("Janik"),

questioned the victim's whereabouts the victim initially declined to give her an answer. Only later

after Janik's interrogation of the victim's whereabouts did the victim give her mother a concocted

story of the above aforementioned events. On May 17, 2001, the following day Janik filed a police

report over the phone against the wishes of the victim. Only after Janik called the police station

did the police arrive at the victim's home where they took her to the police station. The police then

took her to the physician to have a medical checkup. Only after the insistence of her mother and

the police did she decide to file a police report against Respondent and Zagaja. As noted in the file

the victim later recanted her claims against Respondent and did not wish to further pursue

prosecution against Respondent. The prosecutor misinformed the victim and told her that she

would be prosecuted for changing her testimony. Only after being coerced by Janik and the police

did the victim again change her story and assist in the prosecution of Respondent. The victim

during this time has been consistent in wishing not to pursue prosecution against the Respondent.

See Exhibit A (An Affidavit of the alleged victim).

       Respondent's attorney at the time of the incident poorly advised the Respondent to plead

guilty to a part of the charges despite the complaining witness having attempted to withdraw her

statements against the Respondent. His attorney misinformed the Respondent that if he pleaded

guilty, he would not receive any imprisonment and would be placed on parole or probation.

Subsequently, due to his attorney's poor advice, the Respondent reluctantly pleaded guilty for an

offense that he did not commit.




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       Subsequently, the Provisional Court of Rzeszow unjustly convicted Respondent on

October 3rd, 2001 under Article 197 § 3 of the Penal Code and Article 158 § 1 of the Penal Code

in connection with Article 11 § 2 of the Penal Code and for this he was sentenced to two years and

six months of deprivation of liberty. Pursuant to Article 63 § 1 of the Penal Code the period of an

actual deprivation ofliberty in the case from May 17, 2001 to October 3, 2001 was credited to the

imposed penalty of deprivation of liberty. Respondent's attorney negligently filed an appeal

narrowly based upon the sentencing and not the conviction which was a mistake on the part of the

attorney. Due to the attorney's mistake he essentially deprived our client from filing an

extraordinary complaint based on the merits of the case to the Supreme Court of the Republic of

Poland. The Respondent is now barred from filing any further appeals.



                                    II.    MEMORANDUM OF LAW

       A Court may issue a bond in an extradition case if (A) special circumstances warrant the

defendant's release; and (B) the defendant is not a flight risk. Both apply here.

   A. Special Circumstances Warrant Respondent's Release

       To be entitled to bond, Respondent must prove the existence of "special circumstances."

In re Extradition of Ghandtchi, 697 F.2d 1037, 1038 (11th Cir. 1983). Special circumstances

include: (1) "the raising of substantial claims upon which the appellant has a high probability of

success," Salerno v. United States, 878 F.2d 317,317 (9th Cir. 1989); (2) the likelihood of"lengthy

delays ... as a result of the actual extradition proceedings themselves and the appeals therefrom,"

In re Kirby, 106 F .3d 855, 863 (9th Cir. 1996); (3) the fact that the defendant does not have a "prior

record" and has not been "charged with a crime of violence," United States v. Taitz, 130 F.R.D.

442, 446 (S.D. Cal. Apr. 20, 1990); and (4) a "serious deterioration in health while in custody."

Salerno, 878 F .2d at 317.


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       Although this list is illustrative, it is not exhaustive. Wroclawski v. United States, 634 F.

Supp. 2d 1003 (D. Az. 2009) (noting that the court was "not bound by an exhaustive list of 'special

circumstances"'). A court may consider other special circumstances as well. Id. Ultimately, "[t]he

determination of what [ special circumstances] to consider and how much weight to give them is

within the 'sound discretion' of the Court." Id. (quoting Beaulieu v. Hartigan, 554 F.2d 1, 1-2 (1st

Cir. 1977)); Michael Abbell, Extradition to and from the United States§ 4-1 (2010) (noting that

judges "have been accorded substantial discretionary latitude" when it comes to the question of

what constitutes "special circumstances"). And a court may rely on special circumstances, in the

aggregate, to order release. Matter of Extradition of Morales, 906 F. Supp. 1368, 1376 (S.D. Cal.

1995) (relying on four special circumstances to release defendant on bond).

             1.   Respondent Did Have Numerous Claims For Appeal With A High

                  Probability Of Success.

       Numerous courts have released a defendant pending an extradition hearing because the

defendant presented a substantial claim against extradition. In re Extradition of Huerta, Magistrate

No. H-08-342M, 2008 WL 2557514, at *4 (S.D. Tex. June 23, 2008); Matter of Extradition of

Gonzalez, 52 F. Supp. 2d 725, 741 (W.D. La. 1999) (same); In re Extradition of Santos, 473 F.

Supp. 2d 1030 (C.D. Cal. Dec. 21, 2006) (same); United States v. Ramnath, 533 F. Supp. 2d 662,

665 (E.D. Tex. 2008) (same); Nacif-Borge, 829 F. Supp. at 1216 (same). Here, Respondent has

six such claims.

       If a defendant is able to show "a substantial likelihood" that "there is no probable cause"

that he committed the extraditable offenses, "that may constitute special circumstances justifying

bail pending the extradition hearing." In re Extradition of Gonzalez, 52 F. Supp. 2d 725, 737 (W.D.

La. 1999).




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       Here, nothing better demonstrates the lack of probable cause than the victim's inconsistent

and coached statements. Initially the victim did not want to tell Janik about the events that occurred

on May 16, 2001 but due to her strong insistence, the victim told her a concocted story to denote

the Respondent as one of the perpetrators. Janik is the person who initially reported the alleged

offense against the victim's wishes. It was after the police and medical staff were involved that the

victim was pressured into giving a false statement. Later the victim told the police that Respondent

was not involved in the alleged offenses and wished that she could apologize to him for falsely

accusing him of such a heinous act.

       It is clear that the court in Poland made an erroneous decision based on the inconsistent

and pressured statements of a person who later said her statements were false, Janik's statements

of what her daughter allegedly told her which is hearsay, and the fact that the victim's watch and

underwear were at Respondent's building which is consistent with Respondent's statement.

       Again, recently the victim signed a sworn affidavit that she and the Respondent did have

consensual sexual contact. The victim originally was pressured by her mother to make her

statement against the Respondent. In the affidavit she also confirms that she attempted to recant

her statement on September 7, 2001 but was coerced by the prosecutor not to change her statement

or she would be charged with a crime. After almost two decades the victim maintains that the

Respondent is not guilty.

       Though it is clear that the court made an erroneous decision, the Respondent is barred from

filing another appeal due to the incompetence of his attorney. Respondent's attorney negligently

filed an appeal narrowly based upon the sentencing and not the conviction which was a mistake

on the part of the attorney. Due to the attorney's mistake he essentially deprived our client from

filing an extraordinary complaint based on the merits of the case to the Supreme Court of the




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Republic of Poland. The Respondent is now barred from filing any further appeals. Respondent's

counsel has filed a motion in Poland to suspend his sentencing for a year due to family hardship

and a necessity to prepare his family both emotionally and financially for the prospective

imprisonment.

           2. The Extradition Process Will Be Lengthy

       Moving to the second special circumstance, courts have released a defendant pending an

extradition hearing based on the likely protracted nature of the extradition proceeding. Chapman,

459 F.Supp.2d at 127; Taitz, 130 F.R.D. at 445; In re Extradition of Kapoor, No. 1 l-M-456 RML,

2011 WL 2296535, at *4 (E.D.N.Y. June 7, 2011). Here, there is no question that we are headed

for a protracted fight over extradition for a number of reasons.

       First, Poland has produced voluminous materials in support of the Complaint. It will take

significant time to review and analyze these materials. Taitz, 130 F.R.D. at 445 (holding likelihood

of lengthy proceedings supported release where "[t]he government has submitted to the court a

carton containing the exhibits it intends to use at the extradition hearing" and the "exhibits need to

be analyzed by the parties and the court before arguments can be made and a decision rendered").

       Second, Respondent intends to raise numerous, meritorious challenges to his extradition,

some of which are preliminarily discussed above. Kapoor, 2011 WL 2296535, at *4 (holding

likelihood of lengthy proceedings supported release where defendant "posited complex and

weighty arguments as to why she is not extraditable"); In re Extradition of Sidali, 899 F. Supp.

1342, 1351-52 (D.N.J. 1995) (same); Morales, 906 F. Supp. at 1375 (same);

       Third, because of the nineteen-year gap between the time of the alleged offenses and the

filing of the Complaint requesting extradition, Respondent will need time to track down and gather

the evidence that will prove the falsity of the accusations. Chapman, 459 F.Supp.2d at 127 (holding




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likelihood of lengthy proceedings justified release "[b ]ecause the underlying offense occurred

more than three years ago" and "it may be difficult to track down witnesses and prepare evidence

for the hearing").

           And fourth, if the Court were to order extradition, Respondent intends to pursue all avenues

of relief, including filing a petition of habeas corpus, appealing to the Second Circuit, and

requesting relief from the State Department. Taitz, 130 F.R.D. at 445 (holding likelihood of

lengthy proceedings justified release where "resolution of this issue will no doubt involve habeas

corpus proceedings in the district court and the Court of Appeals" and "would likely last for as

long as two years"); Kapoor, 2011 WL 2296535, at *4 (same).

               3. Respondent's Lack Of Criminal History And Nature Of The Charges

           Another recognized special circumstance is where a defendant "has no prior record and is

not charged with a crime of violence." Taitz, 130 F.R.D. at 446; see Chapman, 459 F.Supp.2d at

1026; Nacif-Borge, 829 F.Supp.2d at 1220-21. Respondent has no criminal history whatsoever.

Respondent acknowledges that his unjust conviction is violent in nature but the victim has

acknowledged that Respondent was not a bad actor in the occurrence.

               4. Detention Will Result In A Serious Deterioration In Respondent's Health Due

                    To A Global Pandemic

           Another special circumstance justifying release here is Respondent's health amid a global

pandemic that has killed hundreds of thousands of people worldwide. See Taitz, 130 F.R.D. at 446;

Sidali, 899 F. Supp. at 1351-52; See Huerta, 2008 WL 2557514, at *4. On March 11, 2020, the

World Health Organization declared a global pandemic.4 Citing "deep[] concern[] both by the

alarming levels of spread and severity, and by the alarming levels of inaction," it called for



4
    See supra note I.


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countries to take "urgent and aggressive action." The Governor has declared a Public Health

Emergency identifying COVID-19 as an imminent threat to the health and safety of the

community, requiring emergency protective actions.                                Since then, normal life has ceased.

Businesses, restaurants, schools, government offices, and churches are closed. People who have

control over their bodies are self-isolating to prevent contracting or spreading this deadly disease.

As of September 3, 2020, 6.6 million people have been diagnosed with COVID-19 in the United

States, with over 187,000 deaths confirmed. 5

          The number of people infected is growing exponentially. The death toll in Italy, which

began experiencing this epidemic about a week earlier than the first diagnosed American case, saw

a rise of 30% overnight in the 24 hours between March 5, 2020, and March 6, 2020 and a rise of

25% on March 15 alone-a day that killed 368 people in Ttaly.6 Experts predict similar rapid

growth in the United States. The numbers of people diagnosed reflect only a portion of those

infected; 7 very few people have been tested, and many are asymptomatic transmitters. 8 Thousands

of people are carrying a potentially fatal disease that is easily transmitted-and few are aware of

it.




5
  Centers for Disease Control, Coronavirus 2020, https://covid.cdc.gov/covid-data-
tracker/?utm source=morning brew#cases
6
  "Italy coronavirus deaths near 200 after biggest daily jump," Crispian Balmer & Angelo Amante, Reuters (Mar. 6,
2020 ), https :/ /www.reuters.com/ arti c I e/u s-h ealth-coron av i rus- italy/i taly-coron av i rus-deaths-n ear- 200-after-b i ggest-
dai l y-j ump- id US KB N20T2 ML.
7
  Melissa Healy, "True Number of US Coronavirus Cases is Far Above Official Tally, Scientists Say," L.A. Times
(Mar. 10, 2020), https://www.msn.com/en-us/health/med ical/true-n um ber-of-us-coronavirus-cases-is- far-above-
official-tally-scientists-say/ar-BB 11 0qoA.
8
  Roni Caryn Rabin, "They Were Infected with the Coronavirus. They Never Showed Signs," N.Y. Times (Feb. 26,
2020, updated Mar. 6, 2020), https://www.nytimes.com/2020/02/26/health/coronavirus-asymptomatic.html; Aria
Bendix, "A Person Can Carry And Transmit COVID-19 Without Showing Symptoms, Scientists Confirm,", Bus.
Insider (Feb. 24, 2020), https ://www .sciencealert.com/researchers-confirmed-patients-can-transm it-the-coronavirus-
without-showin g-symptoms.


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        The current estimated incubation period is between 2 and 14 days.9 Approximately 20% of

people infected experience life-threatening complications, and between 1 % and 3.4% die.!? The

virus is thought to spread through respiratory droplets or by touching a surface or object that has

the virus on it. 11 Thus, infected people-who may be asymptomatic and not even know they are

infected-can spread the disease even through indirect contact with others.

        Accordingly, officials and experts urge "social distancing"-isolating oneself from other

people as much as possible. 12 Social distancing is virtually impossible inside the federal jail. Other

federally recommended precautions include frequent hand-washing, alcohol-based hand sanitizers,

and frequent cleaning and disinfecting of any surfaces touched by any person.13

        It is virtually impossible to engage in these basic preventive measures in federal jail. During

pandemics, jail facilities become "ticking time bombs" as "[m]any people crowded together, often

suffering from diseases that weaken their immune systems, form a potential breeding ground and

reservoir for diseases."!" As Dr. Jaimie Meyer, an expert in public health in jails and prisons,

recently explained, "[T]he risk posed by COVID-19 in jails and prisons is significantly higher than

in the community, both in terms of risk of transmission, exposure, and harm to individuals who

become infected." See Exhibit 1, Declaration of Dr. Jaimie Meyer ("Meyer Deel.")              ,r 7 (Mar.   15,

2020). This is due to a number of factors; the close proximity of individuals in those facilities,



9
   "Coronavirus Disease COVID-19 Symptoms," Centers for Disease Control (updated: Feb. 29 2020),
https://www.cdc.gov/coronavirus/2019-ncov/about/symptoms.htm I.
10
     Vox, Why Covid-19 is worse than the flu, in one chart, https://www.vox.com/science-and-
health/2020/3/18/21184992/coronavirus-covid-19-flu-comparison-chart.
11
    Centers for Disease Control, Coronavirus Factsheet (Mar. 3, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/downloads/2019-ncov-factsheet.pdf.
12
   See supra notes 2 & 3.
13
     Centers for Disease Control, Steps to Prevent Illness: https://www.cdc.gov/coronavirus/20 I 9-
ncov/about/prevention.htm !?CDC AA retV al=https%3A %2F%2Fwww .cdc.gov%2Fcoronavirus%2F20 l 9-
ncov%2Fabout%2Fprevention-treatment.html; see also supra notes 2 & 3.
14
   See Saint Louis University, "Ticking Time Bomb," Prisons Unprepared For Flu Pandemic, ScienceDaily (2006),
https://www.sciencedaily.com/releases/2006/09/06091501230 I .htm.


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their reduced ability to protect themselves through social distancing, the lack of necessary medical

and hygiene supplies ranging from hand sanitizer to protective equipment, ventilation systems that

encourage the spread of airborne diseases, difficulties quarantining individuals who become ill,

the increased susceptibility of the population in jails and prisons, the fact that jails and prisons

normally have to rely heavily on outside hospitals that will become unavailable during a pandemic,

and loss of both medical and correctional staff to illness. Id. ,i,i 7-19. 15

           When coronavirus suddenly exploded in China's prisons, there were reports of more than

500 cases quickly spreading across five facilities in three provinces. 16 In Iran, 54,000 prisoners

were temporarily released to protect them and to protect the community from propagation of an

outbreak. 17

           People incarcerated at the jail:

                          a. Are typically housed in close proximity to others and unable to distance
                             themselves;
                          b. Spend significant time in communal spaces, such as eating areas,
                             recreation rooms, bathrooms, and cells or holding areas, and they are
                             unable to choose to do otherwise;
                          c. Live in spaces with open toilets within a few feet of their beds, and
                             unable to access a closed toilet that would not aerosolize bodily fluids
                             into their living spaces;
                          d. Are constantly within six feet of other people, likely none of whom have
                             been tested for COVID-19, and they are unable to choose to do
                             otherwise;
                          e. Must physically touch others or be touched by others, such as
                             correctional officers and medical staff, many of whom have not been
                             tested for COVID-19, and they are unable to opt out of this contact;


15
   "The pathway for transmission of pandemic influenza between jails and the community is a two-way street. Jails
process millions of bookings per year. Infected individuals coming from the community may be housed with healthy
inmates and will come into contact with correctional officers, which can spread infection throughout a facility. On
release from jail, infected inmates can also spread infection into the community where they reside." Pandemic
Influenza and Jail Facilities and Populations, American Journal of Public Health, October, 2009; See also Dr. Anne
Spaulding, Coronavirus and the Correctional Facility: for Correctional Staff Leadership, Mar. 9, 2020,
https://www.ncchc.org/filebin/news/COVID _for_ CF_ Administrators_3 .9.2020.pdf
16
   Claudia Lauer & Colleen Long, "US prisons, jails on alert for spread of coronavirus," AP News (Mar. 7, 2020),
https :// a pnews.com/ af98 boa 38aaa bed bcb05909 2d b356697.
17   Id.


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                          f. Are frequently subjected to intimate contact by correctional staff, many
                             of whom have not been tested for COVID-19, during searches of their
                             person, including having those staff place their hands inside of people's
                             mouths and other body cavities;
                          g. Lack recommended access to soap, water, tissues, and paper towels;
                          h. Lack access to hand sanitizer that complies with CDC guidelines.

        People in the jail also lack access to quality, efficient medical care. Although an

incarcerated person can request to see a member of the medical staff, those requests take significant

time to process.

        This combination of lack of adequate sanitation, close quarters, and limited medical

capacity create an intolerably dangerous situation, putting detainees,jail staff, and the communities

they belong to at greater risk of illness and death-without any compelling need. The constant

cycling of people in and out of the jail 18 makes containment impossible, even if visitations are

stopped.19

         Science shows that, within jails and prisons, isolation, segregation, and lockdown are

ineffective against COVID-19, Meyer Deel. ,r 10, and regardless, the jail does not have the physical

space to accomplish these efforts for the current jail population. COVID-19 can survive in the air,

so separation in a facility where there is still other movement of people, and occasional interaction,

will not contain it. Surfaces are still touched-inside cells, in bathrooms, and in transport, at the

very least. Further, the reality is that some contact with others, whether through close proximity

or actual contact, is inevitable. Kitchen staff, intake staff, officers and medical staff all interact

with incarcerated people as a matter of course, even on lockdown.




18
   See Peter Wagner & Emily Widra, "No need to wait for pandemics: The public health case for criminal justice
reform," Prison Policy Initiative (Mar. 6, 2020), https://www.prisonpolicy.org/blog/2020/03/06/pandemic.
19
   Premal Dharia, "The Coronavirus Could Spark a Humanitarian Disaster in Jails and Prisons," Slate (Mar. 11,
2020), https ://slate.com/news-and-po I itics/2020/03/coronav irus-civ i 1-rights-jai ls-and-prisons.htm 1


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        Respondent is a 42-year-old man who is in poor physical and mental health. Given his age

and poor health, the stress of a prolonged detention will almost surely result in a serious

deterioration of Respondent's health. See Taitz, 130 F.R.D. at 446 (holding that defendant's

allergic reactions to the food and soap at the detention center qualified as a special circumstance

supporting release).

        If Respondent is released, he will remain confined to his home with the exception of only

leaving his home for medical appointments and court appearances. In Dr. Meyer's words,

"[r]educing the size of the population in jails and prisons is crucially important to reducing the level

ofrisk both for those within those facilities and for the community at large." Meyer Deel. ,r 37. In this

unique moment, release enhances the safety of other people and the community-and is necessary

to protect Respondent's own health and safety. Respondent must be able to exercise self-protective

measures in a sanitary, disinfected space, and to maintain social distance from other community

members to flatten the curve of the virus's spread.

        5. Multiple Countries Within The European Union Have Declined To Uphold Any

Poland Extradition Request Due To Their Fear That Poland's Judiciary Is No Longer Fair,

Unbiased, And Or Independent Of The Government.

        Several countries in the European Union including the Netherlands, Germany, and the

United Kingdom have rejected multiple Poland extradition requests due to fears of unfair trials.

In 2019, Germany's Karlsruhe Higher Regional Court issued a press release expressing concern

about judicial independence in Poland and stating that it would decline Poland's extradition

request. In 2020, Poland's president signed into law the Muzzle Law which is aimed at disciplining




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judges who question government judicial reforms, which has been highly criticized within the

European Union.r''

        In 2018, the United Kingdom's highest court declined to extradite a man who had been

convicted of drug offenses and sentenced to two years. The man served eighteen months but was

released. While released the man fled Poland and went to the United Kingdom. The man had served

over 75% of his original sentence and paid restitution to his alleged victim. Given these

circumstances, the English judge found that extradition to Poland in 2018 for low-level offenders

committed years before would be a disproportionate interference with the appellant's right to

private and family life.21

        The court should take into consideration the European Union concern with regards to

Poland's judicial fairness and refuse to extradite the Respondent. The client served a significant

portion of his initial sentence and has lived a lawful and productive life in the United States.

        6. The Respondent Is Applying For Political Asylum In Immigration Court For Fear

That Due To Political Persecution He Will Be Unable To Receive A Fair Due Process.

        The Respondent is seeking political asylum for fear that he will continue to be the victim

of political persecution by the local government. At the time of the incident multiple local courts

were closing in Poland due to a low volume of crime. In 2002, The Employment Law Division of

the District Court in Lezajsk was closed. Also, in 2002, the Petty Crime Court closed in Poland as

well. In Poland, there are sometimes Petty Crimes Courts formed as a subdivision of the Criminal




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   Jasrnin Bauorny, Germany refuses to extradite Pole under European arrest warrant due to fair trial fears, Euro
News (2020), https://www.euronews.com/2020/03/09/gerrnany-refuses-to-extradite-pole-under-european-arrest-
warrant-due-to-fair-trial-fears (last visited Sep 22, 2020).
21
      UK court rejects disproportionate European Arrest Warrant to Poland, Fair Trials (2018),
https://www.fairtrials.org/news/uk-court-rejects-d isproportionate-european-arrest-warrant-po land (last visited Sep
23, 2020).




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Court Division in some District Courts. Both the Employment Law Division and Petty Crimes

Courts were shut down because of the small case inflow.

       At the time of the incident, the Provisional Court of Lezaj sk was allegedly at risk of being

shut down due to a small case inflow. If the local court would have shut down many members of

law enforcement, prosecutors, and court employees would have become unemployed. The

Respondent's case was handled by the Prosecutor's Office in Lezajsk which is the seat of the Court

in Lezajsk that was at risk of being shut down. This may have been the motivation for the local

prosecutor in Lezajsk, law enforcement and courts to conspire and work in unison to suppress the

victim's truthful testimony and to unjustly coerce the victim into lying under oath by threatening

to prosecute the victim. Respondent's own attorney's questionable actions seem to confirm that he

was only motivated in providing work for the local prosecutor and court and not in the best interest

of his client. Respondent fled Poland due to clear and convincing evidence that his conviction and

appeal were politically motivated and not based on truthful testimony or evidentiary facts.

       If Respondent is extradited back to Poland, he will continue to be the victim of political

persecution by the local officials by having to serve a term of imprisonment for an offense that 1)

he did not commit, 2) was politically motivated, and 3) was primarily caused by the ineffective

assistance of counsel, or worse. Respondent is barred from appealing his conviction due to the

mistakes of his attorney. The only relief he could seek would be to request time to get his affairs

in order before he is incarcerated because he is this sole provider for his family and he has a child

with a severe speech and hearing disability. This political persecution would not only victimize

the Respondent but his family as well.

   B. Respondent is not a Flight Risk

           1. Respondent's Past Behavior Proves He Is No Flight Risk




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       Poland's filing of an extradition request did not come as a surprise to anyone. Respondent

did nothing to hide for 17 years. Now the Governm ent would have this Court believe that, if the

Court gives Respondent a bond, he will decide the time is ripe to execute his escape from the

United States. Such a position fails the common-sense test. If Respondent was going to flee this

country, he would have done so a long time ago.

           2. Respondent's Ties to the Community Prove That He Is No Flight Risk

       Numerous courts have released a defendant facing extradition based on the defendant's

substantial ties to the community. Kapoor, 2011 WL 2296535, at *5; Chapman, 459 F. Supp. 2d

at 1027. There is no question that such ties exist here.

       The Respondent has family, including a common law wife, two children, a sister, close

friends, and supporters in Connecticut. See Exhibit B. Respondent has owned a business in

Connecticut for over a decade and maintains two homes in Connecticut. Respondent and his family

are active members of Sacred Heart Church located in Greenwich, Connecticut. See Exhibit C.

Respondent also has nowhere else to go. In short, Respondent is rooted to this community and

these roots provide an ample basis for ordering release. Chapman, 459 F. Supp. 2d at 1027

(ordering release of three Hawaii-based defendants facing extradition and noting that the

defendants had "households, children and significant financial interests in Hawaii"); Kapoor, 2011

WL 2296535, at *5 (ordering release of New York-based defendant facing extradition because

defendant's children, husband, and father lived in New York City).

           3. Respondent's Proposed Bond Package Guarantees His Appearance

       To prove to the Court that he is committed to remaining in the United States, Respondent

has put together a bond package that is well on par with other bond packages. The key terms of

the package are set out in bullets below:




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            •    $1,000,000 10% bond, co-signed by Respondent's sister and backed by equity in

                 Respondent's two properties;

            •    Home confinement in Respondent's primary Connecticut home;

            •    Electronic monitoring;

            •    Whatever restrictions of access to modes of transportation ( e.g., planes, boats, etc.)

                 the Court deems fit; and

            •    An executed waiver of extradition that would become operative if the Respondent

                 should flee the Court's jurisdiction.

         To help put these bond terms in perspective, the Court should consider the Arias Leiva

case, a case arising out of this district. There, Judge O'Sullivan released the defendant on a

$1,000,000 personal surety bond that was co-signed by a United States citizen and secured with

real property having equity of at least $1,000,000, along with a condition of electronic monitoring.

In the Matter of the Extradition ofArias Leiva, Case No. 16-23468-MC-O'Sullivan (S.D. Fla. Feb.

6, 2017). Unlike Arias Leiva, Respondent has continuously maintained a residence in the United

States for decades which makes Respondent a markedly less significant flight risk. Respondent's

proposed bond package is well on par with the package that Judge O'Sullivan approved in Arias

Leiva.

            4.   Because Respondent Is Not A Flight Risk, Due Process Requires His Release

         As held in Paretti v. United States, 122 F.3d 758 (9th Cir. 1997), if Respondent is not a

flight risk, and he clearly is not, the Court must release him under the United States Constitution's

Due Process Clause. The court wrote: "[U]ntil such time as an individual is found to be

extraditable, his or her Fifth Amendment liberty interest trumps the government's treaty interest




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unless the government proves to the satisfaction of the district court that he or she is a flight risk."

Id.

           Although the Paretti opinion was ultimately withdrawn, and the appeal dismissed on other

grounds, 143 F.3d 508 (9th Cir. 1998) (en bane), the opinion's due process analysis remains sound

and applies here. Because Respondent is not a flight risk, due process requires his immediate

release.

           In closing, Respondent wishes to address what he expects to be a cornerstone of Poland's

argument for detention, specifically, the Supreme Court's dated holding in Wright v. Henkel, 190

U.S. 40 (1903), that bail should not ordinarily be granted in extradition cases. Putting the due

process argument aside, numerous courts have recognized the erosion of Wright's so-called

"presumption" of detention. Beaulieu v. Hartigan, 430 F. Supp. 915, 916 & n.2 (D. Mass. 1977)

(concluding that "[i]n the more contemporary reported cases, granting of bail pending completion

of the extradition proceedings has been the rule rather than the exception"); Molnar, 182 F. Supp.

2d at 688; United States v. Messina, 566 F. Supp. 740, 744-45 (E.D.N.Y. June 24, 1983); Abbell,

Extradition to and from the United States § 4-1 ("[T]he special circumstances test is simply

'irrelevant' to the government's concern, and an anachronism based on insufficiently considered

and deified dicta in a hundred year old Supreme Court opinion."). This liberalization on the bail

issue is reflected not just by the numerous cases that Respondent has already cited in this motion,

but also by cases from this very district. See, e.g., In re Extradition of Nandwani, 07-MC23253-

Dube, DE:24 (8 Jan 2008) ($100,000 ten-percent bond, $500,000 personal surety bond, and

$50,000 corporate surety bond); In re Extradition of Villatoro-Monteagudo, No. 06-MC-20469-

Dube, DE:22 (S.D. Fla. 18 Dec 2007) ($200,000 personal surety bond); In re Extradition of

Sepulveda-Mery, No. 05-CV-22648-O'Sullivan, DE:16, DE:20 (S.D. Fla. 2 Dec 2005) ($500,000




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ten-percent bond); In re Extradition of Rauit, No. 04-MC-20093-Bandstra, DE7 (S.D. Fla. 12 Feb

2004).

         In short, Wright is a 100-plus-year-old decision whose rationale is outdated in this modern

age. Courts today can impose conditions on released defendants that, to the justices on the Wright

court, would have been the stuff of science fiction, including 24/7 electronic monitoring that

pinpoints a defendant's precise location and alerts authorities at any sign of a problem. And in this

post 9-11 world, international and domestic travel is heavily regulated and surveilled. In sum, the

Government can no longer blindly rely on Wright under the current case law and in this modern

age. The Wright presumption is rebuttable and has been rebutted.



                                           III. CONCLUSION

For the foregoing reasons, the Court should grant Piotr Grabowski's immediate release.



Dated: October 27,2020                                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       This motion was filed electronically on October 27, 2020 through CM/ECF and served on

Konstantin Lantsman Esq., Sarala Vidya Nagala Esq., Tracy Hayes Esq., Chester John Bukowski

Jr. Esq., through that system.




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